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                                UNITED STATES DISTRICT COURT
 5
                                        DISTRICT OF NEVADA
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 7   RUBEN MAYA,
                                                            Case No. 2:24-cv-02388-GMN-NJK
 8              Plaintiff(s),
                                                                            Order
 9   v.
10   CARMAX AUTO SUPERSTORES, INC.,
11              Defendant(s).
12          To date, the parties have not filed a stipulated discovery plan as required by Local Rule 26-
13 1(a). Although a motion to compel arbitration was filed, Docket No. 6, Defendant has not to date
14 filed a separate motion to stay discovery pending resolution of that motion, see Arik v. Meyers,
15 2020 WL 515843, at *1-2 (D. Nev. Jan. 31, 2020) (identifying governing standards).1 If Defendant
16 seeks a stay of discovery, a separate request with robust discussion of the governing standards
17 must be filed by March 10, 2025. If such a motion is not filed, the parties must file a joint proposed
18 discovery plan by March 17, 2025.
19          IT IS SO ORDERED.
20          Dated: March 3, 2025
21                                                                ______________________________
                                                                  Nancy J. Koppe
22                                                                United States Magistrate Judge
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            Some portions of the underlying motion practice may touch on these issues, see Docket
   No. 6 at 9-10, but a separate motion specific to this request for relief has not been filed, cf. Local
28 Rule IC 2-2(b).

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